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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF CALIFORNIA


 Concord Music Group, Inc., et al.                      CASE No C 3:24-cv-03811-JSC


                                Plaintiff(s)
                                                        ADR CERTIFICATION BY
 v.
                                                        PARTIES AND COUNSEL
 Anthropic PBC
                                Defendant(s)

Pursuant to Civil L.R. 16-8(b) and ADR L.R. 3-5 (b), each of the undersigned certifies that he or
she has:

   1) Read the handbook entitled “Alternative Dispute Resolution Procedures Handbook”
       (available at cand.uscourts.gov/adr).
   2) Discussed with each other the available dispute resolution options provided by the Court
       and private entities; and
   3) Considered whether this case might benefit from any of the available dispute resolution
       options.
 Date: July 9, 2024                                              o/b/o ABKCO Music, Inc.
                                                                             Party
 Date: July 10, 2024                                               /s/ Matthew J. Oppenheim
                                                                            Attorney

Counsel further certifies that he or she has discussed the selection of an ADR process with
counsel for the other parties to the case. Based on that discussion, the parties:
       intend to stipulate to an ADR process
       prefer to discuss ADR selection with the Assigned Judge at the case management
      ■



        conference


       Date: July 10, 2024                                         /s/ Matthew J. Oppenheim
                                                                            Attorney




  Important! E-file this form in ECF using event name: “ADR Certification (ADR LR 3-5 b) of Discussion of ADR
  Options.”



 Form ADR-Cert rev. 1-15-2019
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 1                           CIVIL L.R. 5-1(h)(3) SIGNATURE ATTESTATION

 2          I hereby attest that the signatories of the foregoing document concur in the filing of the

 3   document and that I have been authorized to file the document on their behalf.

 4    Dated: July 11, 2024                                       /s/ Jeffrey G. Knowles
                                                                   Jeffrey G. Knowles
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                                                                                Case No. 3:24-cv-03811-JSC
                                                               CIVIL L.R. 5-1(H)(3) SIGNATURE ATTESTATION
